                    Case 3:19-cv-00099-CAB-AGS Document 8-2 Filed 01/29/19 PageID.114 Page 1 of 40



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                             Telephone: 619.232.0441
                      6      Facsimile: 619.232.4302
                      7      Attorneys for Defendant
                             MARSHALLS OF CA, LLC
                      8
                      9                              UNITED STATES DISTRICT COURT
                  10                              SOUTHERN DISTRICT OF CALIFORNIA
                  11
                  12         JOAN CATHERYN PAULINO, an                  Case No. 19-cv-00099-CAB-AGS
                             individual, on behalf of herself and all
                  13         others similarly situated,                 DECLARATION OF W. ALEX
                                                                        KOCH IN SUPPORT OF
                  14                         Plaintiff,                 DEFENDANT MARSHALLS OF
                                                                        CA, LLC’S MOTION TO STRIKE
                  15         v.                                         CLASS ALLEGATIONS
                  16         MARSHALLS OF CA, LLC; and                  Date: March 5, 2019
                             DOES 1 through 10, inclusive,              Judge: Hon. Cathy Ann Bencivengo
                  17
                                             Defendant.                 PER CHAMBERS RULES, NO
                  18                                                    ORAL ARGUMENT UNLESS
                                                                        SEPARATELY ORDERED BY THE
                  19                                                    COURT
                  20
                                                                        Complaint Filed: November 16, 2018
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LITTLER MENDELSON, P.C.
      501 W. Broadway        DECLARATION OF W. ALEX KOCH IN
          Suite 900
  San Diego, CA 92101.3577   SUPPORT OF DEFENDANT’S MOTION TO                           Case No. 19-cv-00099-CAB-AGS
        619.232.0441
                             STRIKE CLASS ALLEGATIONS
                         Case 3:19-cv-00099-CAB-AGS Document 8-2 Filed 01/29/19 PageID.115 Page 2 of 40



                         1          I, W. Alex Koch, hereby declare and state:
                        2            1.    I am a Manager of Associate Relations for The TJX Companies, Inc.
                        3     ("TJX"), and I oversee Associate Relations for Marshalls stores nationwide, including
                        4     the store where Plaintiff Joan Paulino ("Plaintiff') has worked, and continues to work,
                        5     while employed by Marshalls of CA, LLC ("Marshalls"). I am over the age of 18 and
                        6     all of the information set forth herein is based on my personal and firsthand
                        7     knowledge and/or based on information and documents retained by Marshalls in the
                        8     regular course of its business operations. If called and sworn as a witness, I could and
                        9     would competently testify thereto.
                       10           2.     In the course of my duties as a Manager of Associate Relations, I have
                       11     access to Ms. Paulino's personnel records, including acknowledgments Ms. Paulino
                       12     signed during her employment at Marshalls and other documents relating to her
                       13     employment, which are kept and maintained in the regular course of Marshalls'
                       14     business. In addition, in my role I have access to Human Resource Information
                       15     Systems personnel data of Marshalls. Further, I oversee employees with the ability to
                       16     run reports compiling employee personnel data including, among other things, dates
                       17     of employment, job titles and hours worked, etc.         Finally, I am an authorized
                       18     custodian of Marshalls' records pertaining to human resource matters, including
                       19     company policies, procedures, and standards, including related to Marshalls'
                       20     arbitration program.
                       21           3.     Marshalls is a wholly owned subsidiary of TJX.
                       22           4.     At all relevant times, from November 16, 2014 (the beginning of the
                       23     alleged statute of limitations period for Ms. Paulino's claims) through the present, Ms.
                       24     Paulino has been employed by Marshalls as an Assistant Store Manager -
                       25     Merchandise at Marshalls stores in San Diego County.          Ms. Paulino is currently
                       26     employed as an Assistant Store Manager - Merchandise at the Marshalls store located
                       27     at 161 S. Las Posas, San Marcos, California, 92078. Prior to October 2016, Ms.
                       28     Paulino was employed at the Marshalls store located at 4209 Genesee Ave., San
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                              STRIKE CLASS ALLEGATIONS
                        Case 3:19-cv-00099-CAB-AGS Document 8-2 Filed 01/29/19 PageID.116 Page 3 of 40



                        l   Diego, California 92117.     All employees of Marshalls, including Assistant Store
                       2    Managers and other employees who have store closing responsibilities, are known as
                       3    "Associates."
                       4          5.     In January 2014, Marshalls, along with its parent corporation, TJX, rolled
                       5    out a new arbitration agreement to all then-current Marshalls Associates in California
                       6    (the "Arbitration Agreement"). A true and correct copy of the Arbitration Agreement
                       7    is attached hereto as Exhibit A.
                       8          6.     As part of the arbitration program rollout, in January 2014, TJX and its
                       9    subsidiaries, including Marshalls, distributed a hard copy of the "Your Voice Your
                      10    Choice" booklet and the Arbitration Agreement to all Associates in attendance at store
                      11    meetings held during that time period in each store location nationwide, including at
                      12    the Marshalls store in San Diego where Ms. Paulino worked at that time.             If an
                      13    Associate missed the store meeting, store managers were requested to make every
                      14    attempt to deliver the "Your Voice Your Choice" booklet and Arbitration Agreement
                      15    to those Associates during the following week. Management was further instructed to
                      16    obtain a signed acknowledgement of receipt from all Associates who received the
                      17    "Your Voice Your Choice" booklet and the Arbitration Agreement in the store. A
                      18    true and correct copy of the "Your Voice Your Choice" booklet provided to Ms.
                      19    Paulino and other Marshalls Associates at the San Diego store is attached hereto as
                      20    Exhibit B.
                      21          7.     In January 2014, TJX purchased a ComplianceManager policy
                      22    compliance system from Mark Business Intelligence Systems LLC ("Mark Business")
                      23    for the purpose of providing an online option for Associates to make their election to
                      24    agree or decline the Arbitration Agreement. The system provided all of the materials
                      25    for Associates to review, including the "Your Voice Your Choice" booklet, the
                      26    Arbitration Agreement, and a video. In addition, the compliance system was used to
                      27    track and maintain data for all Associates, including Marshalls Associates, for
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                        Case 3:19-cv-00099-CAB-AGS Document 8-2 Filed 01/29/19 PageID.117 Page 4 of 40



                        1   purposes of recording all decisions to Agree or Decline to participate in the
                        2   Arbitration Agreement, whether initiated by mail or via the compliance website.
                        3          8.    In conjunction .with the ComplianceManager system, in January 2014,
                        4   TJX and Marshalls notified Associates of the arbitration program by prominently
                        5   adding a "TJX Your Voice Your Choice" link at the top of the company's
                        6   myTJX.com website, which link provided access to the "Your Voice Your Choice"
                        7   booklet and the Arbitration Agreement. The link was available to all Associates
                        8   employed by Marshalls, including Ms. Paulino.
                        9         9.     In order to further notify and inform Associates about the "Your Voice
                     10     Your Choice" program, TJX hired a vendor, Quad Graphics, to perform a first class,
                     11     direct mailing to all Associates regarding the "Your Voice Your Choice" program.
                     12     Specifically, TJX asked Quad Graphics to prepare a mailing of the "Your Voice Your
                     13     Choice" booklet and the Arbitration Agreement to all Associates, as well as monitor
                     14     and track any mailed responses from Associates regarding the same. The mailed
                     15     responses were later transmitted to Mark Business for purposes of tracking and
                     16     recording all agree and decline decisions, whether initiated by mail or via the
                     17     compliance website.
                     18           10.    Ms. Paulino received a copy of the "Your Voice Your Choice" booklet,
                     19     along with the Arbitration Agreement, in January 2014, as verified by her signed
                     20     acknowledgment form dated January 23, 2014. This acknowledgment form has been
                     21     kept and maintained in the regular course of Marshalls' business operations. A true
                     22     and correct copy of Ms. Paulina's January 23, 2014, signed acknowledgment form is
                     23     attached hereto as Exhibit C.
                     24           I 1.   Marshalls made participation in the arbitration process voluntary, in that
                     25     it was not made a condition of employment, and Associates had the choice to decline
                     26     participation. Thus, Marshalls Associates, including Ms. Paulino, could decline to
                     27     participate in the Arbitration Agreement by opting out via mail or online at the
                     28     myTJX.com website by March 12, 2014. As specified in the Arbitration Agreement
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                      1     and in the "Your Voice Your Choice" booklet, if a Marshalls Associate did not
                      2     affirmatively opt out of the Arbitration Agreement either via mail or online by March
                      3     12, 2014, their continued employment with Marshalls would constitute agreement to
                      4     the Arbitration Agreement and it became binding on the Associate and Marshalls.
                      5            12.   Ms. Paulino opted out of the Arbitration Agreement via a letter sent to
                      6     Marshalls on March 9, 2014.       A true and correct copy of Ms. Paulino's letter is
                      7     attached hereto as Exhibit D.
                     8            13.    For Marshalls Associates hired after the initial rollout of the Arbitration
                     9      Agreement in January 2014, Associates have been presented during the new hire
                   IO       process with a "Your Voice Your Choice" document and an updated version of the
                   11       Arbitration Agreement. The updated version of the Arbitration Agreement provided
                   12       that the Associate could decline to participate in the Arbitration Agreement by opting
                   13       out via mail or online at the myTJX.com website within 45 days of their hire date. As
                   14       specified in the updated Arbitration Agreement and accompanying "Your Voice Your
                   15       Choice" booklet, if a Marshalls Associate did not affirmatively opt out of the
                   16       Arbitration Agreement either via mail or online within 45 days of their hire date, they
                   17       were deemed to have agreed to the Arbitration Agreement and it became binding on
                  18        the Associate and Marshalls. A true and correct copy of the Arbitration Agreement,
                  19        acknowledgment form, and "Your Voice Your Choice" document presented to
                  20        Marshalls Associates hired after the initial January 2014 rollout of the Arbitration
                  21        Agreement is attached hereto as Exhibit E.
                  22              14.    Based on my review of Marshalls' Associate records maintained in the
                  23        regular course of the company's business, I can confirm that between August 11, 2016
                  24        to December 20, 2018 (through which date the data was last pulled), Marshalls
                  25        employed approximately 598 non-exempt Associates in California who were
                  26        responsible for supervising store closings during some or all of that period of time.
                  27        As part of the process of preparing this declaration, I understand that a list containing
                  28        the names of the 598 non-exempt Associates at issue was transmitted to Mark
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                            1   Business so that Mark Business could provide data relating to how many of those
                            2
                            3   Associates either opted out or agreed to the Arbitration Agreement during that same
                            4   time period.
                            5            I declare under the penalty of perjury under the laws of the United States and
                            6   California that the foregoing is true and correct.
                            7            Executed this :).~ day of January, 2019, atf,Alt'R>~-~~    M t,.
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                                                                               W. Alex Koch
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                     Paulino v. Marshalls of CA, LLC
                         19-cv-00099-CAB-AGS

                    DECLARATION OF ALEX KOCH

                             Index of Exhibits

  EXHIBIT       DOCUMENT                                   PAGE(S)
  A             Arbitration Agreement                      8-14

  B             “Your Voice Your Choice” Booklet           15-28
                provided to Ms. Paulino

  C             January 23, 2014 signed                    29-30
                Acknowledgment form

  D             March 9, 2014 letter from Ms. Paulino      31-32
                opting out of Arbitration Agreement

  E             Copy of Arbitration Agreement,            33-40
                acknowledgment form, and “Your
                Voice Your Choice” document
                presented to Marshalls Associates hired
                after the initial January 2014 rollout of
                the Arbitration Agreement
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                              EXHIBIT A


                                   Exhibit A
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5. Class Action, Collective Action, and Private Attorn y Ge:n~al:·W.aivw ·

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6. Paying For The Arbitration                                                                                                                                           ..       · ,.· .

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7. The Arbitration Hearirtg'An·a AWar~                                                                  ·! · · · ··· .                  f         • • _. .. • •                    .....   ~.   :· ' · -' ·••



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 8. An Associate's Right To Decline Particip~tion ·In he Agr~~m~nt                                                                                                             ._
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  Associate should mail his or her letter to TJXCompani · ;P.©8ox;r4f.t14/Wobu:m, ·MA·0-~888.:9952 z
  using the prepaid envelope included with this Agreeme t and should retain a copy of the letter for his
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 remedies in court and through a class or collective acti n without regard to this Agreement.

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 this Agreement by A$sociate and the Company. An ssociate has the right to consult with
 counsel of the Associate's choice concerning this greement     · ... ·       ·

 9. Non-Retaliation
 It is against Company policy for any Associate to be su ~ect to retaliation if he or she exercises his
 or her right to assert claims under this Agreement. If an Associate believes that he or she ~as been
 retaliated against by anyone at the Company, the Asso iate should immediately report this to the
 Human Resou(ces Deparbnent.                              :
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                                                                     TJX Arbitration Ag'ree~ent I 2014

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10. Enforcement Of:T~.l~A~r~e~~t1t                                      j,·                   , ·                                                   :.\• .
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covered by this Agreement. Except as stated in paragra h 5, above, in the e~ent any portion of thi.s
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Each Associate should retain a copy of this Agree-rent for Hi~"'offt~t~Jc'ofdt                               · ·' . . . 0-   U·"'

By ~ssociate signing this·~~re~e~~~~'. it_becomes              f l!ct_~e   i":irrl'~'~i_at~IYr··. . , .                       ··
An A~~~~iat~. ~Y <J.eclioe:p,arti~Jp.~tJ<m ,ia··t his Ag~~ement•by March r~2p2014,:-as'provided 'it:f · 0.:i
pa~s;Jr~ph ~.,.~l.Jov,e. lO~~A~~.Q~i;,1je\cf9.e.$.. 'n.Qt;d e.clin :.participation :bydNii:ir~h ~2,:2014; •continuing'
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AGREED:        __
                TJ
                 .....X_ _ _ _ _ _ _ _ _ _ _ __

AGREED:
               ASSOCIATE NAME PRINTED



                ASSOCIATE SIGNATURE



                SIGNATURE OF PARENT OR LEGAL §UARDIAN (REQUIRED IF
                     ASSOCIATE IS UNDER 18 YEA.,S OF AGE)
                                                                 I                               •

                                                                 l
Date:




AIN#


First Name                      Last Name


Address


City, State Zip




Please return the entire signed Agreement (consist,ng of three sheets of paper with text on
front and back) to TJX Companies, PO Box 4714, ~obum, MA 01888-9962 using the prepaid
envelope included in your packet, unless you choo~e to decline participation as explained in
paragraph 8 above.                ·
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                  YOU-R VQ;l·C:E.
                  YOUR CHO·ICE.
                   To our valuedAssoGiates,

                   Our Open Door philosophy represents our strong commitment to listening to each other and resolving
                   issues together and is available to every one o.f our Associates·, r~ardless of position or location.
    · .:           With our-amazing growth, we must continue our focus on relationships and face-to-face communication.
    -·/·'          This requires a more structured process to ensure-that as we grow, every Associate continues to be
    j              heard in a personal and auth_entic way.
        :i


.":J               Our commitment to you is that no. matter how large we grow, your voice will ~lways be heard. Through-
 . ,
, ;'I              out this packet yciu will learn more about how we.are enhancing ~nd for;malizing our communication
t i                processes to tDrovide you with a variety of ways to be.heard both internally and externally - specifically
'·:- j
                   in the case· of raising an issue or concern.
)j
,· I
    ·~:            In your packet you will also iind an Ar01tratlon Agreement. Please read it carefully as it is a legal
·• ·1              document. After watchin_g the DVD and reviewing all the included materials, you will have a choice to
     ·:i
. :·1              either sign the agreement or .select to deGline the a@reement. We ask that you notify us of your choice
·. ; ,             on or before March 12, 201-4 using .the envelope -included ot online at myrJX.eom. lfyou do not
(       .
                   decline the.agreement by March 12, 2014, you will·be. b.ound by the terms of the Arbitration
'       '          Agreement, and you will Wp,ive your right to file .a claim in court and participate in a class or collective
                   action as describ-ed in the Arbitration Agreement.

                   Thank you for taking the time to review the information in this packet. Please also take advantage of the
                   provided frequently asked questions, or contact HR XPRESS.at 1-888-627-6299, should you want more
                   Information. As a company, we believe that by working together directly, there,ls little we can't resolve.

                   Thank you.
                                                                                         ..,



                   Amy Fardella
                   EVP, Chief Human Resources Officer
                   The TJX Companies, Inc.




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                         YOUR VOICE.
                         YOUR CHOICE.
                           INTERNAL RESOURCES
                          At TJX, we are very proud of our heritage; the cor.nerstone-of which is our Open Door philosophy, which
                          has been the foundation of our culture, relati0nships, and open communication since we began over three
                          decades ago. The Open Door represents our strong commitment to listening to each other and solving
                          problems.together and is-available to every ·one 0f our Ass0ciates reQardless of your position or location.

                           The Open Door has always been, and will continue to be, ttte way in WMich we share ideas, raise
                           concerns, and ensure Yot:Jr voice is heard.




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                                                       Open Door with
                                                       Mpnage_men~




                                                       Open Door with
                                                       HR Partner




                                                       Open Door with
                                                       TJX Facilitator




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                           •-'·              •. Arbitration-: .., ~ ., .. • ·· . :. ·
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                         'Only claims covered by the Arbitration Agreement may be submitted to arbitration.


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        ,.'•.
        ''!i      With our exciting growth, we are challenge0 to preserv~ our Gulture-and because of that, we are
     !
: •• I            formalizing the Open Door proc:;ess to provide you With a variety of ways to be heard - specifically in the
                  case of raising an issue or concern. If you want to raise a concern, below are three internal resources
                  available to you through our Open Door philosophy.
    .    '
        •i
        .,
                  OPEN DOOR WITH MANAGEMENT

        ...
    '···'
                  The Open D0or is a communication philosophy-that anab.le.sAssa.ciates and Managers to resolve iss1:1es
                  through direct communication. You are ent::ouraged ·to reach out to anyone within, or outside of, your
/
r        .
          :       area of the business witf.lout fear of retaliation. You should always feel ffee to reach out in person, on the
• . '!            phone, in writing, or however you feel comfortable: There is no formal documentation require~ - just an
.. .:
.· !              open dialogue..Historically, we have found that most issues can be. resolved through this dialogue.
:· I
;.. I
\I                OPEN DOOR WITH:HR::J?AR:FNER
!        i        You also have the opportur.iity to c0mmuniGate yoar issue or concern to the HR Partner responsible for
:\                your area. Your HR Parther' will list~11 to your c:;orn;:ern and will speak with all appropriate p_arties to gather
!        i
!j· Ir            additional informati0n. Then; the HR Partner will enga~e-in a d_      is<::1:Jssion with y0l!l and a member- of
                  Management to review the·findings in the hopes of reachin'g a resolution.
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                 *NEW* OPEN DOOR WITH TJX FACILITATOR
                 In addition to these lines-Of commurtic_ation, we are introducing an additional resource - a TJX
                 Facilitator, whose role it will be to review your cone.ems, faeilitate possible mediation, and assist all
                 parties in attempting to reach a resoluti0ri. In most cases the Facilitator will be an HR Associate from a
                 different area of the Company, and may not have .had any prev10us contact or knowledge of any of the
                 issues or par.ties involved. This internal resource will serve as a fresh set of-eyes and ears on your
                 concern and provide potential solutions. The Facilitator will collect additional information; speak with
                 additional pe_ople if needed; and perhaps bring parti_  es together, The F.acilitatorwill then present a
                 specific recommendation on what he/she believes the proper resolution to the sttuation should be.

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 YOUR VOICE.
 YOUR CH·Ol·CE.
  EXTERNAL RESOURCE
                                                                                                   tion, on
  Most issues and concerns are resolved through our Open Door process but as in any organiza
                                                                                       we  cannot resolve.
  occasion there may be wqr,k-related •issues or concerns involving legal claims that
                                                                                                 individual
  In these instances only, we are introducing the process of individual arbitration. Even though
                                                                                     has been impleme  nted
  arbitration may sound unfamiliar to you, it has been amund for many years and
  by many or,ganizations, including quite a few within the Retail industry.

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  •on1y claims covered by the Arbitration Agreement may be submitted to arbitration.


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           ARBITRATION
           Arbitration is a private process, less formal than court, where covereq claims between you and
           the Company (as defined :in the Arbitrati.on Agreem_ent) are.resolved Without filing a claim in court or by
           participating in a class or collective action. In arbitr:atibn, the parties choose an independent, neutral third
           party to hear and resolve the case. This indi1:1idual is called an "Arbitrator." the Arbitrator is authorized to
           resolve the dispute and render a decision that ls final and legally blndi0g to both sides, subject only to a
           very limited Judicial review.
           Toe arbitration hearing is typically held local to where you live or to where you were last employed by
           TJX. Normally, arbitration is private, and the,decision of ttie A(bitrator is confidential. Toe Company
           will pay all of the administrative fees and expenses associated with the-arbitration, including the cost of
  • J
           the Arbitrator.
      I
  .,'      In, arbitration, like in court, y,ou and TJX have jhe right to request and exchange ir-iformation and
 j         documents. You and TJX will also be able to submit written requests to ihe Arbitrator asking that certain
   I       legal issues be resolved.
: ;\
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  ,f
           During the arbitration hearing, both sides will be a0le to su0mit evidenee and call witnesses. The
  ·1       Arbitrator can also subpoena witnesses or documents that the.Arbitrator believes may provide information
,,:i,,,
• I        that will be useful in reaching a decisior:i. The Arbitrator will review the facts, consider the evidence
           submitted, and make legal ruli1:1gs. Arbitrations will be conducted on .an individual basis only, and there are
  ,I       no class or collective actions permitted in arbitration proceedings und$rthe TJX Arbitration Agre.ement.
  i        The Arbitrator can issue y01:J all the same individual awards that ar.e available to you in a court proceeding.
   j
  J
  ,I       If you choose to cons1:Jlt an .attorney or to be represented by one duting the arbitration process, you will
  ·i
   .,      be responsible for your attorney's fee and expens'\3S, although you may be awar:ded those fees and
  ·:,,
  ~
           expenses by the Arbitrator.
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  :!
           NEXT STEPS
 .ii.,~    Included in your package is· an Arbitration Agreement. Please read it c·arefully as it is a legal document.
           On or before March 12, 2014, you have a choice to either sign the agreement or decline to participate in
           the agreement. To decline, please refer to Section 8 of the Arbitration Agreement for further details. If you
           do not decline participation by March 12, 2014, you and TJX are agreeing to submit all covered clalms
           to binding individual arbitration instead of going to.court and you waive yo·ur right to participate in a class
           or collective action. This agreement Is a legal document and the decision to participate in the arbitration
           process is solely yours.
                                                                                   ..,
          You also have the·option to complete and submit your Arbitration Agreement electronically as well as the
          option to decline to participate in the agreement electronically. To do this, go to myTJX.com, and from
          the Associate page select the "Your Voice. Your Choice." icon. Once logged in you will find information is
          available in both English and Spanish. We ask that whether online qr via paper, you complete and submit
          your Arbitration Agreement or decline to participate in the agreement on or before MarGh 12, 201'4.
          The Open Door has always been, and will continue to be the way in which we share ideas, raise
          concerns, and ensure your voice is heard. By enhancing our culture of open communication throug_        h
          the addition of internal TJX Facilitation and external individual arbitration, we can Gontinue to work directly
          with you to resolve issues and concerns early and fairly.




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         YOUR VQl:CE·.
         YOUR CHOICE.
            ONLINE RESOURCES AT MYTJX.COM!



            SU VOZ. /.
            SU OP·CIO-N                                                    I


                iRECURSOS EN LINEA EN MYTJX. COM·!

                In addition to the materials in this packet, you also have the
                option to go to myTJX.com for this information in both English
                and Spanish, as well as the option to electronically complete
                and submit your signed agre·ement or-yo.ur request to
                decline participation. We ask that whether online or via
                paper, you notify us of your decision on or before
                March 12, 2014.


                Ademas de las materiales que contiene este paquete,
                tamblen tiene la opci6n de ir a myTJX.com para
                obtener esta informaci6n tanto en ingles como
                en espanol, asf como la opcl6n de completar
                y enviar electr6.nic~mente su convenio
                firmado o solicitar rechazar su
                 participaci6n. Le pedimos que bien
                sea en lfnea o en papel, n9s notifique
                sabre su decisi6n antes de o el
                 12 de marzo de 201-4.




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           Is Open Door changing? What Is TJX Facilitation?
           Open Door has always been how we ask each other for advice, share concerns and present ideas - and -that will not
           change. However, we are adding an additional Internal resource, called TJX Facllitation, which allows you to more
           formally address your Issues or concerns. The TJX Facilitator will review your concerns, facilitate possible mediation, and
           assist all parties in attempting to reach.a resolution. The Facilitator will be an HR Associate from a different area of the
 ,.,       Company, .and in most !)ases will not have any previous oontact or knowledge of any of the issues or parties involved.
  ·:
·· l       What ff I have an issue or concern that Is not re~olved through Op.en Door?
 ·•
 .,        Through OJjen Door you may partner with Management, your HR Partner, or a TJX Facilitator. If you feel your issue is
           not resolved through these internal resources and .your issue has work-related legal implications, you may request to go
           thrc;,ugh the external individual arbitration process. If you do not ·dec::llne the Arbitratioh Agreement by March 12, 2014,
           you will be bound byihe agreement. Please see the Arbitration Agreement for more detailed information on participation
           in the arbitration pro.cess. If you do not participate In thaArbitration Agreement you will not be eligible to submit claims to
           arbitration.
           What is arbitration?
           Arbitration Is a voluntary process for resolving individual work-related legal issues or concerns between TJX and its
           Associates by osing an independent, neutral individual (called the Arbitrator) rather than going through a court
  l        proc.eeding br partic::ipating in a class or collective action.
  lj.
  ,·
           Why introduc.e arbitration now?
           TJX' believes that legal claims can be more quickly and directly resolved in an Individual arbitration between you and TJX,
           rather than in a court proceeding or by participating in a class or collective action.
           How does arbi~ration work?
           You and TJX, by mutual agreement, will select a neutral and independent arbitrator from the American Arbitration
           Association to hear any covered work-related legal claims. Just like in court, both sides will be able to submit evidence
           and call witnesses at the arbitration hearing. The Arbitrator can subpoena witnesses or documents that the Arbitrator
           believes may. provide information that will be useful in reaching a decision. The Arbitrator will review the faets, consider
           the evidenc::e &ubmitted, and make legal rulings. The Arbitrator can issue you all the same individual awards that are
           available to you in a court proceee:ling. The Arbitrator's decision is legally bindiRQ for both you and TJX, subject only to
           limited judicial review.
           How are these resources different than Open Dqor?
  ,:,,
  ,I
           The Open Door provides ah intormai avenue for any Associate to raise ideas, questions or concerns with any member of
           Management. Adding internal facilitation and external arbitration as additional resources does not eliminate or change the
  n        Open Door. Facilitation offers more formalized procedures for any Associate to request that a Facilitator review any issu·es
  i,'      or concerns beyond their Manager. If the Issue is not resolved through the Open Door, an Associate who is subject to the
  r
           Arbitration Agreement may choose to bring -a coverad claim to arbitration.




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   What is a "covered claim"?
   As described in Paragraph 1 of the Arbitration Agreement, a covered .claim includes any claims under Federal, State, local
   or other applicable law based upon or related to discrimination, harassment, retaliation, defamation (including claims
   of post-employment defamation or retaliation}, breach of a contract or covenant, fraud, negligence, emotional distress,
   breach of fiduciary duty, trade secrets, unfair competition, wages or other compensation, breaks ~nd rest periods,
   termination, tort claims, equitable claims, and all other statutory or common law claims unless explicitly excluded by the
   agreement. Paragraph 2 also describes the c!s,1ims that are not covered by the Arbitration Agreement such as claims for
   workers' compensation, state disability insurance·and unemployment insurance benefits. Please refer to Paragraph 1 of the
   Arbitration Agreement for a complete list of covered claims.
   Can I use the Open Door even if I decline to participate in the arbitration process?
   Yes. The Open Door process, including internal TJX Facilitation, is available to ail Associates regardless of their decision
   to participate In the arbitration process.
   Why do I need to sign a legal fonn?
   The Arbitration Agreement is a contract - a legally binding document in which you and TJX agree to-submitall covered
   work-related l!:J9;;ll claims to binding arbitration. Ifyou do not decline participation in the agreement on or before March i 2,
   20i4, you and TJX agree to submit all covered claims to binding indlvidL!al arbitration and to warve the right to file a covered
   claim In court and yourright to participate-Ina class or collective action. Yoo and TJX afso agree to have claims heard in
   arbitration on an individual basis only.
   What happens if I do not sign the agreement?
   You are not required to sign .the agreem~nt. Agreeing to participate In the arbitration process is voluntary. However, if you do
   not decline participation in the agreement as described in the agreement, you agree to submit all covered work-related legal
   claims to binding Individual arbitration and you also agree to waive your right to flle a claim in court and your right to participate
   in a class or collective action.
   What happens·ifl do not sJgn or decline my Arbitration Agreement by the deadline?
   If you neither sign nor decline your Arbitration Agreement on or before Marr:h 12, 2014, you will be bound by the terms of the
   Arbitration Agreement and you will be required to submit any covered claims to arbitration rather than in a court or in a class or
   collective action.
   Who is being asked to participate in this program?
   TJX is asking U.S. Associates at all levels to participate in the arbitration process.
   Am I giving up anything by agreeing to participate in the arbitration process?
   If you agree to participate in the arbitration process, both you and the Compsny are gMng up the right to have an
   employment-related claim heard in court or by a Jury for any dispute covered by the Arbitration Agreement. You are also
   giving up your right to participate in a class or collective action.
   Who pays for- arbitration?
   Toe Company will pay all of1he administrative fees and expenses associated with the arbitration, including the cost of the
   Arbitrator. If you ehoose to consult an attorney or to be rep'resented by one during the arbitration process,_ you are responsible
   for your attorneys fees and expenses, although you may be awarded those fees and expenses by the Arbitrator.
   Do I need to use the Open.Door process before I.go to arbitration?         "'·
   Although we encourage you to use the Open Door process, it is not necessary and you can go directly to arbitration for
   covered claims if you participate in the Arbitration Agreement.
   What happens if my dil;!pute is-not covered by the Arbitration Agreement but·l am still not satisfied with the decision
   of myTJX Facilitator?
   The decision of the TJX Facilitator is final, although you may have the right to seek further review of the matter outside the
   arb~ion process if It is a work-related legal clalm.
   What does "legally binding" mean in the arbitration process?
   "Legally binding" means the decision of the Arbitrator is final and conclusive for both you and TJX, and the decision can be
   enforced in a court 0f law. The Arbltrator?s decision is subjectonly to very limited judicial review. Because the Arbitration
   Agreemer-it is a legal document, we encourage you to carefully review It and consult with an advisor of your own choosing to
   ensure·you fully understand the scope of the agreement and its impact on your legal rights.
                                           .                                                            .


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                     How is an independent-Arbitrator selected?
                     Toe Arbitrat0r will be selected by both parties according to the rules of the American Arbitration Association.
                     Can I complete or decline my Arbitration Agreement online?
       -.i
         i           Yes. To do this, go ta myTJX.com, and from the Associate page select the "Your Voice. Your Choice." Icon. Once logged in
       ·1
         l           you will find lnfonnation is,availab!Ei in both Ehglisb apd Spanish. We-~k that whether online or via paper; you complete and
        <            submit your arbitration agreement or qecfirre tb paltlelpate In fue agreement on or before March 12, 2014.
                     How do I return my signed .agreement or my requ~st to decline :the agreement?
                     Please use the pre-pa1d envelope provided in your packet. To protect your confider.itlality, please do not return either of
       _.t,
                     these documents to anyone at TJX. Also, please note if'yoi:J are declinlng_participation of the Arbitration Agreement via
    .. 'l     .      paper; you must include your work location and AIN nomqer In your document. Yo1:1r AIN can be found on your
    .. ·. . ..       personalized agreement as well as on your pay stub. Please print cl~arly and ensure you retain a copy of this mailing
                     for your records.
-:·:r"               Why does an issue have to be ·of a."legal. nature" before it earr go to •arbitration?
.. ·/
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                     Toe individual arbitration procE;?Q!J~-Is Intended .fo lne)ude only covenfd teg9I dalms. The coverec! legal claims are
     '·, !'          described in detail in theArb!tration Agreement.
                     What does "legal nature" mean?
                     "Legal nature" refers tb a claim that has a basis under Federal, state or any other law as defined in Paragraph 1 of the
                     Arbitration Agreement.
                    What does "decline" mean?
                    "Decline" refers to an Associate's right to deciqe not to particlp_ate in the Arbitration Agreement. The right to decline
                    participation in the Arbitratio.h Agreem~1Jt is described in the agr.eemenrn, Paragraph 8. The choice whether to decline
                    or not is yours al0ne. You will not be retallated .against for declining participation in the agreement.
                    Who do I contact if I do not get a package at home?
                    Please call HR XPRESS at 1-888-627-6299.
                    Who is my HR Partner?
                    You can locate_your HR Partners by looking on the Op~n Door paster in y0ur work location. Their business card with
                    contact information is attache·d to the poster.
                    The "Yoyr Voice. Your Choice."· website is asking·me for my AIN number. Where do I find it?
                    You Gan find your iiine-·dlgit AIN an your personalized agreement as well as your pay stob.
                    Who do I reach out to with .questions?
      ,.            If you have any questions-, please contact HR XPRESS at 1-888-627~6299.
                    I recejved two packets, one in the meeting-and one at home. Do I need to sigh both agreements?
                    No. You only need to sign or decline one agreement either oh paper or online at myTJX.cohl. If sending via paper. please
                    keep tbe other copy for your records.
                    I am a minor. Do I need to sign the agreement-?
                    Associates underfhe age of 18 must have their agreement or request. to decritie.participation document signed by a
                    parent or legal guardian.
                    What do I need to do by March 12, 20147
                    As described in the.Arbltration Agreement, you may cho0se, within the time period provided In the agreement, to sign
                    or decline to participate in the agreement. An Associate may retain the right to bring a claim in court and participate in
                    a class or collective action by declining participation In the agreement on or before March 12, 2014. If an Associate
                    does not decline participation in the agreement on or before March 12, 20"14, the Associate and TJX agree that they
                    will resolve any worl<-refated legal claims through blnding arbitration instead of through a court proceeding or a class
                    or collective action. Please reference Para·graph 1 in the Arbitration Agreement for more information on covered
                    work-related legal claims.



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                              Mail in your completed agreement or request to decline,
                          or submit online at myTJX.com,.on or before March 12, 201 4 .




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                                                                                                                                                            UNITED STATES


             BUSINESS  REPLYWOBURN
            FIRST-CLASS MAIL
                    PERMIT NO. 120
                                   MAIL
                                     MA

            POSTAGE WILL BE PAID BY ADDRESSEE



            THE TJX COMPANIES, INC
            PO BOX4717
            WO.BURN MA 01-888M9962

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                                                        ASSOCIATE
                                                  ACKNOWLEDGMENT
                                                            FORM


    This Is to acknowledge that I, Joan Paulino
    have received a copy of the "Your Voice. Your Choice." Associate Packet.




    AIN #990585950
    Joan Paulino

                                                                 990585950001




                                          ACompany Of Choice


 Wave 4 = January 22nd      MAIL 11964 SEQ 00881"3


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                              EXHIBITD


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        March 9, 2014
        Joan K. Paulino




       TJX Companies
       POBox4714
       Woburn, MA 01888-9962
       Joan Kathryn Paulino declines participation in
       The Arbjt:rat?n Agteement.                ·
       AlN # 990585950
                                             ' ...........                         .




      jr~-M,~
       Joan K. Paulino
       Ma.rshalls store 0481
       4209 Genessee Avenue
       San Diego> CA 92117




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ARBITRATION AGREEMENT
This Arbitration Agreement is a legal contract and covers important issues relating to your
rights. It is your sole responsibility to read it and understand it. You are free to seek
assistance from independent advisors of your choice outside the Company or to refrain from
doing so. It is your choice.

1. How This Agreement Applies

This Agreement is governed by the Federal Arbitration Act, 9 U.S.C. § 1 et seq. and evidences a
transaction involving commerce. Except as it otherwise provides, this Agreement applies to any
dispute, past, present or future, arising out of or related to Associate's employment with The TJX
Companies, Inc. or one of its affiliates, successors, subsidiaries or parent companies (collectively,
"TJX" or the "Company") or termination of employment regardless of its date of accrual and survives
after the employment relationship terminates. Nothing contained in this Agreement shall be construed
to prevent or excuse Associate (individually or in concert with others) or the Company from utilizing
the Company's existi.ng internal procedures for resolution of complaints, and this Agreement is not
intended to be a substitute for the utilization of such procedures.

Except as it otherwise provides, this Agreement is intended to apply to the resolution of disputes that
otherwise would be resolved in a court of law or before a forum other than arbitration. This Agreement
requires all such disputes to be resolved only by an Arbitrator through final and binding arbitration and
not by way of court or jury trial. Except as_stated in paragraph 5 below, Associate and Company
agree that any dispute or controversy covered by this Agreement, or arising out of or relating to
interpretation or application of this Agreement, including the enforceability, revocability or validity of
the Agreement or any portion of the Agreement, shall be resolved by binding arbitration in
accordance with the Employment Arbitration Rules of the American Arbitration Association ("AAA
Rules") then in effect, and not by court or jury trial, to be held (unless the parties agree in writing
otherwise) within 45 miles of where Associate is or was last employed by the Company. The AAA
Rules may be found at www.adr.org or by searching for "AAA Employment Arbitration Rules" using a
service such as www.Google.com or www.Bing.com or by contacting HR XPRESS (Tel.
888.627.6299) for a copy of the rules. If there is a conflict between the AAA Rules and this
Agreement, this Agreement shall govern.

Except as it otherwise provides, this Agreement also applies, without limitation, to any claims under
federal, state, local or other applicable law based upon or related to discrimination, harassment,
retaliation, defamation (including claims of post-employment defamation or retaliation), breach of a
contract or covenant, fraud, negligence, emotional distress, breach of fiduciary duty, trade secrets,
unfair competition, wages or other compensation, breaks and rest periods, termination, tort claims,
equitable claims, and all other statutory or common law claims unless explicitly excluded below. The
Agreement specifically covers, without limitation, all claims arising under the Uniform Trade Secrets
Act, Civil Rights Act of 1964, Americans With Disabilities Act, Age Discrimination in Employment Act,
Equal Pay Act, Pregnancy Discrimination Act, Family Medical Leave Act, Fair Labor Standards Act,
Employee Polygraph Protection Act, Employee Retirement Income Security Act {except for claims for
employee benefits under any benefit plan sponsored by the Company and (a) covered by the
Employee Retirement Income Security Act of 1974 or (b) funded by insurance), Affordable Care Act,
Genetic Information Non-Discrimination Act, including amendments to all the foregoing statutes, and
state and municipal statutes, if any, addressing the same or similar subject matters.

                                                    1
                                       TJX Arbitration Agreement

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2. Limitations On How This Agreement Applies

This Agreement does not apply to any action filed in any court prior to January· 14, 2014.

This Agreement does not apply to claims for workers compensation, state disability insurance and
unemployment insurance benefits.

Regardless of any other terms of this Agreement, claims may be brought before and remedies
awarded by an administrative agency if applicable law permits access to such an agency
notwithstanding the existence 9f an agreement to arbitrate. Such administrative claims include
without limitation claims or charges brought before the Equal Employment Opportunity Commission
(www.eeoc.gov), the U.S. Department of Labor (www.dol.gov), the National Labor Relations Board
(www.nlrb.gov), or the Office of Federal Contract Compliance Programs (www.dol.gov/esa/ofccp).
Nothing in this Agreement shall be deemed to preclude or excuse a party from bringing an
administrative claim before any agency in order to fulfill the party's obligation to exhaust
administrative remedies before making.a claim i!1 arbitration.

Disputes that may not be subject to predispute arbitration agreement as provided by the Dodd-Frank
Wall Street Reform and Consumer Protection Act (Public Law 111-203) are excluded from the
coverage of this Agreement.

3. Starting The Arbitration And Tolling Of Claims

The party bringing the claim must demand arbitration in writing and deliver the written demand by
hand or first class mail to the other party within the applicable statute of limitations period. The
demand for arbitration shall include identification of the parties, a statement of the legal and factual
basis of the claim(s), and a specification of the remedy sought. Any demand for arbitration made to
the Company shall be provided to the Company's Legal Department at the following address: 770
Cochituate Road, Framingham, MA 01701, Attention: General Counsel. The Arbitrator shall resolve
all disputes regarding the timeliness or propriety of the demand for arbitration. A party may apply to a
court of competent jurisdiction for temporary or preliminary injunctive relief in connection with an
arbitrable controversy, but only upon the ground that the award to which that party may be entitled
may be rendered ineffectual without such provisional relief.

All claims in arbitration are subject to the same statutes of limitation that would apply in court. With
respect to a covered legal claim the applicable statute(s) of limitation will be tolled during the period in
which TJX and the Associate are engaged in the facilitation phase of the Company's Open Door
process (the "Tolling Period"). In order to trigger the Tolling Period the Associate must contact his or
her HR Partner or call HR XPRESS. The Tolling Period may only be extended by written mutual
agreement of the Associate and TJX.

4. How Arbitration Proceedings Are Conducted

In arbitration, the parties will have the right to conduct adequate civil discovery, bring dispositive
motions, and present witnesses and evidence as needed to present their cases and defenses, and
any disputes in this regard sHall be resolved by the Arbitrator. At a party's request or on the
Arbitrator's own initiative, the Arbitrator may subpoena witnesses or documents for discovery
purposes or for the arbitration hearing.

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5. Class Action, Collective Action, and Private Attorney General Waiver

The Associate and the Company agree to bring any dispute in arbitration on an individual
basis only, and not on a class, collective, or private attorney general representative action
basis. Accordingly,

(a) There will be no right or authority for any dispute to be brought, heard or arbitrated as a
class action ("Class Action Waiver"). The Class Action Waiver shall not be severable from
this Agreement in any case in which (1) the dispute is filed as a class action and (2) a civil
court of competent jurisdiction finds the Class Action Waiver is invalid, unenforceable,
revocable, unconscionable, void or voidable. In such instances, the class action must be
litigated in a civil court of competent jurisdiction.
(b) There will be no right or authority for any dispute to be brought, heard or arbitrated as
a collective action ("Collective Action Waiver"). The Collective Action Waiver shall not be
severable from this Agreement in any case in which (1) the dispute is filed as a collective
action and (2) a civil court of competent jurisdiction finds the Collective Action Waiver is
invalid, unenforceable, revocable, unconscionable, void or voidable. In such instances, the
collective action must be litigated in a civil court of competent jurisdiction.
(c) There will be no right or authority for any dispute to be brought, heard or arbitrated as a
private attorney general representative action ("Private Attorney General Waiver"). The
Private Attorney General Waiver shall be severable from this Agreement in any case in which
a civil court of competent jurisdiction finds the Private Attorney General Waiver is invalid,
unenforceable, revocable, unconscionable, void or voidable. In such instances and where the
claim is brought as a private attorney general claim, such private attorney general claim must
be litigated in a civil court of competent jurisdiction.

Although an Associate will not be retaliated against, disciplined or threatened with discipline as a
result of his or her exercising his or her rights under Section 7 of the National Labor Relations Act by
the filing of or participation in a class, collective or representative action in any forum, the Company
may lawfully seek enforcement of this Agreement and the Class Action Waiver, Collective Action
Waiver and Private Attorney General Waiver under the Federal Arbitration Act and seek dismissal of
such class, collective or representative actions or claims. Notwithstanding any other clause contained
in this Agreement, any claim that all or part of the Class Action Waiver, Collective Action Waiver or
Private Attorney General Waiver is invalid, unenforceable, unconscionable, void or voidable may be
determined only by a court of competent jurisdiction and not by an arbitrator.

The Class Action Waiver, Collective Action Waiver and Private Attorney General Waiver shall be
severable in any case in which the dispute is filed as an individual action and severance is necessary
to ensure that the individual action proceeds in arbitration.

6. Paying.For The Arbitration

Each party will pay the fees for his, her or its own attorneys, subject to any remedies to which that
party may later be entitled under applicable law. The Company will pay the Arbitrator's and arbitration
fees.


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                                       TJX Arbitration Agreement

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7. The Arbitration He.aring And Award

 The parties will arbitrate their dispute before the Arbitrator, who shall confer with the parties regarding
 the conduct of the hearing and resolve any disputes the parties may have in that regard. Within 30
 days of the close of the arbitration hearing, any party will have the right to prepare, serve on the other
·party and file with the Arbitrator a brief. The Arbitrator may award any party any remedy to which that
 party is entitled under applicable law, but such remedies shall be limited to those that would be
 available to a party in his or her individual capacity in a court of law for the claims presented to and
 decided by the Arbitrator, and no remedies that otherwise would be available to an individual in a
 court of law will be forfeited by virtue of this Agreement. The Arbitrator shall apply applicable law and
 will issue a decision or award in writing, stating the essential findings of fact and conclusions of law.
 Except as may be permitted or required by law, as determined by the Arbitrator, neither a party nor an
 Arbitrator may disclose the existence, content, or results of any arbitration hereunder without the prior
 written consent of all parties. A court of competent jurisdiction shall have the authority to enter a
 judgment upon the award made pursuant to the arbitration. The Arbitrator shall not have the power to
 commit errors of law or legal reasoning, and the award may be vacated or corrected on appeal to a
 court of competent jurisdiction for any such error.

8. An Associate's Right To Decline Participation In The Agreement

Participation in this Agreement is not a mandatory condition of Associate's employment at the
Company, and th~refore an Associate may, no later than 45 days from the Associate's date of
hire, decline participation in this Agreement. An Associate who does not want to participate in
this Agreement may prepare a signed and dated letter stating that the Associate declines to
participate in this Agreement. The letter should include the Associate's Associate Identification
Number ("AIN") and the location where the Associate works. The Associate should mail his or her
letter to The TJX Companies, Inc., PO Box 2410, Kyle, TX 78640, and should retain a copy of the
letter for his or her records. Alternatively, the Associate may decline to participate in this Agreement
by accessing the Agreement through myTJX.com and typing the Associate's first and last name in the
text field labeled "I decline to participate in this Agreement." In order to effectively decline to
participate, an Associate must indicate his or her desire to decline participation through. one
of the two methods described in this paragraph no later than 45 days from the Associate's
date of hire.

An Associate who timely declines to participate as provided in this paragraph will not be subject to
any adverse employment action as a consequence of that decision and may pursue available legal
remedies in court and through a class or collective action without regard to this Agreement.

If an Associate does not decline to participate in this Agreement within 45 days of the
Associate's date of hire, continuing the Associate's employment constitutes mutual
acceptance of the terms of this Agreement by the Associate and the Company. An Associate
has the right to consult with counsel of the Associate's choice concerning this Agreement.




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                                        TJX Arbitration Agreement

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9. Non-Retaliation

 It is against Company policy for any Associate to be subject to retaliation if he or she exercises his or
 her right to assert claims under this Agreement. If any Associate believes that he or she has been
 retaliated against by anyone at the Company, the Associate should immediately report this to the
·Human Resources Department.

10. .Enforcement Of This Agreement

This Agreement is the full and complete agreement relating to the formal resolution of disputes
covered by this Agreement. Except as stated in paragraph 5, above, in the event any portion of this
Agreement is deemed unenforceable, the remainder of this Agreement will be enforceable. If the
Class Action Waiver, Collective Action Waiver, or Private Attorney General Waiver is deemed to be
unenforceable, the Company and Associate agree that this Agreement is otherwise silent as to any
party's ability to bring a class, collective or representative action in arbitration.

Each Associate should retain a copy of this Agreement for his or her records.

An Associate may decline participation in this -Agreement no later than 45 days from the
Associate's date of hire, as provided in paragraph 8, above. If the Associate does not decline
participation within 45 days of the Associate's date of hire, continuing Associate's
employment constitutes mutual acceptance of the terms of this Agreement.




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                                        TJX Arbitration Agreement

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YOUR VOICE.                                                  ASSOCIATE
YOUR CHOICE.                                           ACKNOWLEDGMENT
                                                                 FORM


I have received a TJX Arbitration Agreement and understand that I am covered by the Agreement unless I
decline to participate, as described in paragraph 8 of the Agreement, within 45 days from my date of hire.




AGREED: The TJX Companies, Inc.




AGREED: ____________________________________________
                  Associate Printed Name




AGREED: ____________________________________________
                  Associate Signature




DATE OF HIRE: _______________________________________




Please retain a copy of this acknowledgment form for your records.




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YOUR VOICE.
YOUR CHOICE.
OPEN DOOR
At TJX, we have a long history of treating people with dignity, fairness and respect. As an Associate, we believe you should have the
opportunity to speak openly and be treated fairly at all times. The Open Door philosophy encourages all Associates to ask questions
or bring ideas, concerns or complaints forward, without fear of reprisal, to your Manager or anyone else who can help guide you to a
resolution. Open communication is everyone’s responsibility and allows us to maintain a working environment built on honesty, integrity,
trust and mutual respect.

Here are some ways you can use the Open Door:


                                                                                                                                               MANAGEMENT
                                                                                                                   The Open Door enables Associates to work
          Open Door with
                                                                                                                 directly with their Managers to ask questions,
          Management                                                                                       suggest ideas, or voice concerns. There is no formal
                                                                                                              documentation required – just an open dialogue.

                                                                                                                                                  HR PARTNER
                                                                                           You may also reach out to an HR Partner responsible for your area.
          Open Door with                                                                     Your HR Partner will listen to your concern and will speak with all
          HR Partner                                                                 appropriate parties to gather additional information. Then, the HR Partner
                                                                                       will engage in a discussion with you and a member of management to
                                                                                                      review the ﬁndings in the hopes of reaching a resolution.

                                                                                                                                             TJX FACILITATOR
                                                                                A TJX Facilitator will collect additional information and speak with additional
          Open Door with                                             people, if needed. In most cases the Facilitator will be an HR Associate who may not
          TJX Facilitator                                            have had any previous contact or knowledge of any of the issues or parties involved.


                                                                                                                         Please refer to the Open Door poster in your location
                                                                                                     for the names and contact information of your local Open Door resources.



          Arbitration*




ARBITRATION
Most issues and concerns are resolved through our Open Door process but as in any organization, on occasion there may be work-related
issues or concerns involving legal claims that we cannot resolve. In these instances only, we have a process called individual arbitration.
Arbitration is a private process, less formal than court, where covered legal claims between you and the Company (as deﬁned in the
Arbitration Agreement) are resolved without ﬁling a claim in court or a class or collective action. In arbitration, the parties choose an
independent, neutral third party to hear and resolve the case. For additional information and details on arbitration, please refer to the
Arbitration Agreement.
*Only claims covered by the Arbitration Agreement may be submitted to arbitration.


As a Company, we believe by working together directly through our internal Open Door resources, and our external arbitration resource,
there is little we can’t resolve.




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